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Deposl`tion of " Canzgrbery

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In the United States District Court

Southern District of Illinois

DONALD CANTERBERY,

PLAINTIFF,

vS. Cause NO. 3106-CV~792»MJR»PMF

JOHN PETROVICHl M.D_,

DEFENDANT_

DepOSiCiOn of DONALD CANTERBERY,

taken on behalf of the DEFE:NDANT, at Husch &

Eppenberqer, 190 Carondelet Plaza, St. Louis.

Missouri, on NOVEMBER 14, 2006, before

Margaret M. Clodius, Missouri CCR #948, and

Notary Public within and for the State of

Missouri.

 

 

Gore Perry Gateway Ll`pa Baker Dunu & Bu£z
St. Louis 314.241.6750 St. Charles 6]6.940.0926

 

 

 

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APPEARANCES OF COUNSEL:
FOr DEFENDANT:
Mr_ Justin A. Relihan
Husch & Eppenberger
190 Carondelet Plaza

S\;. Louis, Missouri 63105

FOR DEFENDANT:

Mr. Todd N. Hendrickson

Law Office of T;)dd N. Hendrickson
100 South Erentwood, Sui\:e 300

Clayton, Missouri 6310'5

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St. Louis 314.241.6750 St. Charles 636,940.0926

 

 

(Defendant‘$ Deposition Exhibits 1 - 4 marked
for identification)
DONALD CANTERBERY,
of lawful age, having been first duly
sworn to testify the truth, the whole truth,
and nothing but the truth in the case
aforesaid, deposes and says in reply to oral
interrogatories propounded as Eollows, to-wit;
MR. HENDRICKSON: On the record, Can
we get the Stipulation that this is a
deposition only on the subject of
jurisdictional grounds and diversity
jurisdiction and for no other purposes today.
MR. RELIHAN: Correct.
MR. HENDRICKSON: Okay.
EXAMINATION
QUESTIONS BY MR. RELIHAN:
Q: Sir, could you please state your name
and spell your last name for the record?
A: Donald Wayne Canterbery,
C~A-N-T-E-R~B~E-R~Y.
Q: And what‘s your Social Security
Number?
A: 462»96-0231.

MR. RELIHAN; Let the record reflect

 

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1 this is the deposition of Donald wayne 1
2 Canterbery taken pursuant to notice and 2
3 pursuant to the E‘ederal Rules and the local 3
4 rules of the Southern District of Illinois and 4
5 also as Mr. Hendrickson said is taken pursuant 5
5 to the diversity jurisdiction dispute between 6
7 the parties 7
8 Q: (By Mr. Relihan) Sir. what is your g
9 current address? 9
10 A.- 3152 Boonslick Road. St. Charles, and 10
11 l'm not sure on the zip code. 11
12 Q; Okay. How long have you lived there, 12
13 sir? 13
14 A; Approximately a month, or a little bit 14
15 less than a month. 15
16 Q: Okay. I‘m going to show you what 15
17 we've previously marked as Exhibit l. Sir, if 17
18 you could turn to the, f believe it's the 18
19 second to last page. it‘s the signature page. 19
20 Sir. is your signature on that document;? 20
21 A: Yes, sir. 21
22 Q.- Okay. And for the record, these are 22
23 Plaintiff's Answers to Det'endant's John 23
24 Petrovich, MD‘s Diversity Jurisdiction 24
25 lnterrogatories, Sir, have you ever seen that 25
Gore Perly Gateway Lipa Balcer Dulm & Butz
Sl. Louis 314.241.6750 St, Charles 636.940.0926
lms `“'x"`"
8

1 copy of a blank check of Donald W. Canterbery 1
2 from Bank of America. Sir/ when did you give 2

3 that document to your attorne‘ , that blank 3

4 check? 4

5 (Defendant‘s Deposition Exhibit 5 marked for 5

6 identification) 5

7 A: This morning_

8 Q: Okay. Do you live with anyone at your 8

9 3152 Boonslick Road? 9
10 A: No. l don‘t, I live alone. 10
11 rs that a house, an apartment? 11
12 A: Duplex. 12
13 Q: You rent that? 13
14 A; Yes, 1 ao. 14
15 Q: And for lack of a better term, you 15
16 want to call it a duplex? 16
17 A: Yes. 17
18 Q: Does someone share the other portion 18
19 of the, the portion of the duplex? 19
20 A: My land lady has the other half. 20
21 Q: And your land lady is Sharon Kimball? 21
22 A: correcc. 22
23 Q; How long have you known Ms. Kimball? 23
24 A: Since a Couple days before l rented 24
25 ic. 25

 

 

 

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document before?

A: Yes, sir.

Q: Okay. Did you review that document
before you signed it?

A: Yes. l didi

Q.~ Are all the answers in there truthful
and accurate?

A: They are_

Q: I'm going to show you Defendant'$

Exhibit 2, which is Plaintiff's Responses to
Defenclant John A. Petrovich, MD‘s Diversity
Jurisdictional Request to Produce. Can you
turn to the last page, sir? ls that your
signature?

A: Yes, sir_

Q: Have you seen this document before?

A: Yes.

Q: Did you review it?

A: Yes, I did.

Q: Are all the answers accurate?

A: Yes, they are.

Q: And just for the record. today counsel
provided what we‘ll mark as Exhibit 5, Amended
Supplemental Responses to the Jurisdictional
Request to Produce and the only addition is a

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Q: How did you meet her?

A: Through my cousin. -~ no, no, can l
rephrase that?

Q: Sure.

A: l found the ad in the laundry mat. l
was doing laundry and found that.

Q: Okay_ And l forgot to ask you this
earl ier; have you ever given a deposition
before, sir?

A: No, I haven't.

Q: Okay. Let me go over some ground
rules. Obviously we have a Court Reporter
here, everything needs to be oral, l‘m sure
your attorney went over this, nods of the head,
shakes of the head do not Come across well. l
will try not to talk over you and try not to
talk over me. although we may know exactly what
we're getting at.

A: Okay.

Q: And if you answer any of my questions,

I'll assume that you understood that, is that

Eair?
A: Yes, sir.
Q: A.nd if you don't understand it, or

need me to repeat it, just let me know.

 

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t

 

 

A-. Okay.

Q: And if you need to take a break at any
time, just let me know, okay?

A: Okay.
Q: Okay. Did you sign a written lease
for this duplex?

A: NO, [ didn‘t.

Q: This is a month to month lease?

A.~ Correct.

Q: Is it an oral lease?

A: Yes, sir.

Q: Can you describe for me how this lease

was formed? what did you say to her, how did
you come to an agreement that it was a month to
month lease?

A: She said that she prefers not to have
a long~term lease¢ that she would rather go
month to month, that way either one of us can
get out of it without any penalties

Q: Did she ever ask you to sign a written
lease?

A: No. she didn‘t.
Q: Okay. You state in your
lnterrogatories that you moved in on October

27th, 2006, does that sound accurate?

 

 

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Q: 27th according to your

Interrogatories,
A: 27th.
Q: Okay. Do you intend to remain at this

residence permanently?

A: Yes, l do_

Q: Do you remember what day you saw that
ad in the laundry mat?

A: Not right off, it was two or three
days before 1 got the duplex, that would have
made it the 23rd or the 24th_

Q; So, it‘s your best recollection that
you found the ad on October 23rd or October
24th and moved in approximately three to four
days thereafter?

A: Correct.

Q: Is it fair to state that you did not
find that laundry mat ad before October l3th,
2006?

A: Oh, no.

Q; Okay. Have you informed anyone other

than your attorney of your new address?

A: No.
Q: Have you informed your family or
friends?

 

 

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A: That would be pretty close.

Q: Okay_

A: 1 don't remember dates well, excuse
me.

Q: Okay. So it‘s been about 17, 18 days

you‘ve been at that duplex?

A: About that.

Q: what do you pay?

A: 250 a month.

Q~, Okay. Obviously your first payment is
coming up?

A: 'l`his next month‘

Q: Yes_ Have you made a payment yet?
A: Yes.

Q: How did you make that first payment,

by check, by cash?

3>

Cash_

Q: Did your land lady say that she wants

A: She prefers cashl she will take a
check if l have to_

Q: Okay. what day of the month is your
rent due?

A: A month from the day l moved in, was

that the 17th?

 

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A: My dad knows where I'm at, but he‘s
down in Texas and didn‘t really need the
address.

Q: Okay. Now, you stated in your
Interrogatories that you stayed with various
friends and family over the past six months.
Did you inform those friends and family of your
new address?

A: No.

Q; Your Answers to interrogatories you
gave a list of where you've been living since
April of '06, and according to your
Interrogatories, the first time you moved in to
Missouri was the 14 Ridgeview Court, St.
Charles, Missouri?

A: Correct_

Q: ‘lou moved there approximately August

15. 2006?
A: Yes.
Q; Is that correct?
A: Yes. sir.
Q: Is that the first time you've ever

lived in Missouri?
A~. Yes, it is

Q: Okay. ls it fair to say that prior to

 

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that address, you've never had any residence,

temporary or otherwise, in Missouri?

A: Correct .
Q~. That was a temporary address?
A: 1 'm sorry?

Q: And then St. Charles, Missouri at the

14 Ridgeview Court, that was a temporary

address?
A: Yes, it was.
Q: Prior to living at Boonslick Road, you

lived at 817 Randolph in Elsberry, Missouri?

A: Correct .

Q: How long did you live there?

A: Approximately three weeks.

Q: why did you move?

A: lt didn't work out.

Q: when you say it did not work out, what
do you mean?

A: 1 believe it was personality clash
between me and Leah.

Q: And you say L.eah, that would be Leah
Fennell the landlord?

A: Leah Pennell .

 

 

 

Q: Okay. Do you know what date you moved
in? j
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A: About two or three months.
Q: Where did you, what service do you

have for that cell?

A: Cingular, it‘s prepaid though.

Q: what do you mean it's prepaid?

A: 1 get a card at a wal -Mart or a
Cingular store and put time on my phone.

Q: Do you punch in a code, is that how

the phone recognizes you have time?

A: Uh-huh.

Q: Yes?

A: ‘les.

Q: Have you received any statement from

Cingular regarding your phone?

A: No.

Q: Okay. When you purchased the cell
phone, did you, what store did you go to?
where did you purchase it from?

A: l already had the phone, 1 purchased
the service from wal-Mart_

Q: where is that wal-Mart located?

A: St. Charles.

Q; St. Charles, Missouri?
A; Correct.
Q: ls that approximately two or three

 

 

 

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A: l‘m not good with dates.

Q: Okay. You state in your
Interrogatories that you moved in approximately
October 3rd. 2006, does that sound correct?

A; 'l`hat, that’s a lot closer to what l
could have come up with off the top of my head.

Q: Okay. And you lived at that residence
until October 27th when you moved into the
Boonslick Road address?

A: Correct.

Q: Okay. Did you live with anyone at
that address?

A: At the 517_

Q: At the 817 address.

A; The land lady was staying therel l was
sharing the house with her.

Q; Leah Fennell was a woman?

A: ‘les_

Q: Okay_ was that an apartment, house?

A: It's a house.

Q; Okay. Just for a second, going back
to your Boonslick Road address. do you have a
phone service set up?

A: NO, I've got a cell phone_

Q: How long have you had a cell phone?

 

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months ago, that would be sometime in August or
Septeud)er of '06?

A: Yes_

Q: You say you already had the phone,
what do you mean by that?

A: Me and my fiance. before she passed
away, had regular Cingular service{ and 1 found
out that the prepaid chips would work in there.

Q-. what was your fiance's name?

A: Gretchen R. Dayment. D~A»Y-M-E~N~'l`.

Q: And you two had a Cingular wireless
account?

A: Yes, sir.

Q: Okay_ That Cingular wireless account,
when did You open that account, you and your
fiance?

A: Probably around July of ‘05.

Q: where were you living in July of ‘OS?

A: In Granite Cityl [llinois.

Q: when did you move from Granite City,
lllinois?

A: 'I‘hree weeks after my fiance passed
awayl she died April Sth and the end of the
month I moved to Texas.

Q: April Sth of '06?

 

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A: Yes.

Q: And that's where in the past six
months you‘ve gone from address to address to
address until this now permanent address at
Boonslick Road?

A: Correct.

Q; OkayA ls it fair to say that when you
lived in Granite City with your fiance. that
was your permanent address until the
unfortunate events of your fiance's passing?

A: ‘lesi

Q: How long did you live in Granite City?

A; Six years.

Q; while you lived in Granite City for
those six years, that would have been from
about 2000 until April of 2006?

A: ‘{es.

Q-. Did you guys own ~» sorry. Did you
and your fiance own or rent a home?

A: Rent.

Q; DO you remember the address?

A; 3901 Village Lane. Apartment C_

Q; Did you and your fiance live in that
apartment for six years?

A: A`lmost, we got a duplex six months

 

 

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you did not have any permanent res idence?

A; That 's true.

Q; Moving back to the 817 Randolph,
Elsberry, Missouri address, in your Answers you
said you met Ms. Fennell through your cousin?

A: Correct.

Q; What‘s your cousin's name?

A: Billy Fen.nell.

Q; Was Leah his sister?

A; His exwife.

Q: Okay. How long had you known Leah
Fennell?

A: About a month and a half.

Q: you paid $300 per month while you were
at that address?

A: YeS.

Q; Did you pay that up front?

A: ‘{es, sir, I did.

Q; Did you pay that in cash?

A: Yes, l did.

Q.- Did you sign any lease?

A: No, I didn‘t<

Q: When you lived at the Granite City
apartment. 3901 Village Lane¢ did you sign a

written lease for that?

 

 

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before she died or five months before she died.
Q: Where was that duplex located?
A~. 3102 Wilshire.
Q.~ what city is that?

A: Granite City.

Q: So you still Stayed in Illinois?

A: l‘m sorry.

Q: You still stayed in lllinois?

A: Yes.

Q: Okay. And as long as your fiance was

alive, you two had plans to permanently stay in
Illinois and reside there, correct?

MR. HENDRICKSON: ObjeCtiOIl, his
intent prior to the filing of this suit and
prior to the removal is irrelevant. ‘{ou can go
ahead and answer.

A: Would you restate the question?

Q: (By Mr_ Relihan) Sure. Prior to your
fiance‘s death, you and her intended to remain
permanently in lllinois, in and around the
Granite City, Illinois area?

A: ‘!es.

Q: Okay. Is it fair to state that from
April 5th4 2006 until October 27th, 2006 when

you moved into the Boonslick Road addreSS, that

 

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A~_ 1 didn't, my fiance had that apartment
when l moved to Granite City_

Q: Do you know if she signed a written
lease?

A.~ Yes, She did.

Q: Where did you live prior to moving in
with your fiance at the Village Lane apartment?

MR. HENDRICKSON: Objection,
irrelevant, too remote in time_ You can go
ahead and answer.

WITNESS: Okay.

A: Mainly in motels, I was with the
railroad, contracted with the railroad and
moved all over the country.

Q: (By Mr. Relihan! When you and your
fiance moved into the duplex at 3102 Wilshire,
did you and your fiance sign a lease?

A: Yes.

Q: How long was that lease for?

A: Six months.

Q: When you moved from the Wilshire
apartment to Texas, had that lease expired at
the Wilshire duplex?

A: It would in another three or four days

from the time l moved.

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Q: Okay. 50 you've seen a written lease
for an apartment and know what one is?
A: ‘{es.
Q: Okay. At the 817 Randolph address,
did you intend to remain there permanently when

you moved there?

A: YeS.

Q: However did you not remain there
permanently?

A: Noi

Q: when did the trouble with Ms. Fennell
start? When did you guys start having issues
when you moved in?

A-. Probably the first, it happened within
the first three or four days.

Q; At that point, did you know you had to
find another place to live?

A; No, l thought [‘d work through it.

Q.- Do you remember what day it became,

got to the point where you knew you couldn‘t

work through it?

A; lt had to have been around the 20th or
21st.
Q: I‘m going to show you what‘s a part

of, what‘s been marked as Exhibit 3,

 

 

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months prior to today‘s dates, since the death
of your fiance, you have not had any permanent

residences other than the one at Boonslick

Road?
A: Correct .
Q: Okay.

MR. HENDRICKSON: 1‘11 ohject, l think
he already said that he intended at the time
for it to be a permanent residence at 817
Randolph. ls that true?
NITNESS: That'S true.
Q: (By Mr` Relihan) You stated in
Paragraph 6 that you entered into a long-term

lease concerning the property, is that true?

A: ‘les, sir.

Q; Okay. ls that an oral or written
lease?

A: Oral.

Q; How long of a term for that lease?

A: One year.

Q: Do you have any proof of that oral
agreement?

A: Just my word.
Q: And you were to pay $300 a month?

A: Yes.

 

 

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Plaintiff's Motion to Remand of Donald
Canterbery, have you seen that before, sir?

A: Yes, 1 have.

Q: ls that your signature on the second
page of that affidavit?

A: Yes.

Q: Did you review that affidavit prior to
signing it?

A: Yes, 1 did.

Q: Are those truthful statements in that
affidavit?

A: Yes, they are_

Q: Okay. Turning to Paragraph 3¢ as of
September 13th, 2006. you were temporarily
residing in St. Charles, Missouri?

A: Correct.

Q: Okay. 'l`hat wasn‘t your permanent
address?

A: Huh»uh.

Q-. That wasn‘t your permanent address?
A: No.
Q: You had no intention for that to be

your permanent address?

 

 

 

A: No.
Q; Okay. Is it fair to say in the six
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Q; Do you have any statements or letters

Or anything in writing to document that
long»term lease?

A: No, l don't.

Q; Okay. And you state in Paragraph 5
that you had no permanent residences in
Illinois and Texas from April 2006 to today‘s
date?

1-\: Correct.

Q: But prior to April 2006 you had a
permanent residence in Illinois, correct?

A: Correct.

Q: Okay. And you intended to live there
permanently with your fiance?

A: ‘les.

MR. HENDRICKSON: Ob]'ection.
Correct ion intended at what point; in April of
20067

MR. RELIHAN: Y€S.
Q: (By Mr. Relihan) Prior to the death
of your fiance, you intended to remain
permanently in lllinois?

A: Yes.

Q: Okay.

And prior to the Boonslick Road

address, you have not had a permanent address?

 

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A: Other than 817 Randolph.
Q: well, that wasn‘t a permanent
residence, was it?
MR. HENDRICKSON: The question is one
of intent.
Q: (By Mr_ Relihan) My question was;
that was not a permanent residence?
A: lt would have been if everything had
worked out right.
Q: 1 understandv But that was not a
permanent residence, correct?
A: well, yes. l thought it was.
Q: 1 understand what you thought it was.
MR. HENDRICKSON: Objection, asked and
answered.
MR. RELIHAN: lt has not been
answered. His thoughts are irrelevant. My
question is simple.
Q: (By Mr. Relihan) That was not a
permanent address for you?
A: Yes, it was.
MR. HENDRICKSON: NO address ~~
objection, objection_ You're repeatedly asking
the same guestion, he‘s answered it to the best

of his ability. You‘re asking about

 

 

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COU`RT REZPORTER: Yes.
Q: (By Mr. Relihan) ‘lou had a year lease
at that Elsberry address, correct?

A: Correct.

Q And that was an oral lease, correct?

A: Correct.

Q: You did not stay at that residence for

that full year that you had an oral lease for.

correct?

A: 'l`hat ' s correct_

Q: Okay. Did you pay a security deposit?

A Yes, I did.

Q: Okay. How much was that security
deposit?

A: $500.

Q: Did you receive that security deposit
back?

A: Yes, 1 did.

Q: Did you receive any of the $300 you
paid initially back?

A: No.

Q: Did you pay any penalty for breaking
the oral lease?

A: No.

Q: Okay. Looking at the affidavit, who

 

 

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permanency, permanency is a matter of intent,
he has answered you as to his intent at the
time he took up residence there_

MR. RELIHAN: Counsel, as you know
speaking objections are not allowed_ My
question is simple.

Q; (By Mr. Relihan) booking back and as
that address, intent aside, that did not remain
a permanent address?

MR_ HENDRICKSON: Objection, improper
question. Don't answer. I'm going to instruct
you not to answer. it‘s already been asked and
answered about five times.

Q: (By Mr. P_elihan) Sir, do you
understand my question?

A: Y€Si

Q: Are you going to answer my question?

MR. HENDRICKSON: No.

A: NO.

Q: \By Mr. Relihan) Are you not
answering that question on the advice of your
counsel?

A: Yes.

MR. RELIHAN: would you certify that

quest ion. please .

 

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drafted that affidavit, sir?
MR. HEIN'DRICKSON: 1'11 stipulate that
1 did.
MR_ RELIHAN: Okay.

Q: (By Mr. Relihan) when you signed that
affidavit, did you receive both pages?

A: Yes, 1 did.

Q: And when you signed it, did you sign
it in the presence of your attorney?

A: Yes, 1 did.

Q: Okay. And you signed it on October
20th1 2006?

A: Yes.
Q: Okay. lsn‘t it true that on Octoher
20th, 2006, you were aware that it was not
going to work out, that you were going to stay
at the Elsberry address?

A: 1‘m sorry?
Q: Okay. ‘{ou testified earlier that on
approximately October 20th, 20051 you realized
it was not going to work out at the Elsberry
address?

A: Right.

Q: And on that date you signed an

affidavit stating and testifying that you

 

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intended to remain at the Elsberry address
permanently, correct?

MR. HENDRICKSON: Are you sure on the
dates?

MR_ RELIHAN: Counsel --

A: I‘m not positive on the dates of when
that happened.

Q: (By Mr. Relihan) Okay. But if we
take your prior testimony as being October
20th, 2006, if that was the date that you were
aware that you were not going to stay at the
Elsberry address, would your affidavit then be
correct?

A.- Yesw

Q: Okay. So it would be correct that you
intended to remain permanently at an address
that you knew on that date -- strike the
question. So on October 20th, 2005. we assume
for this question that you knew you were not
going to stay at the Elsberry address.

MR_ HENDRICKSON: DbjectiOn. improper
hypothetical. You're asking him to assume
facts that are not in evidence

MR. RELIHAN: well. unfortunately

counsel, he‘s testified that October 20th, 2006

 

 

 

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the Elsberry address, okay?

A; (Witness nods)

Q: Can you assume that?

A: l can assume that.

Q: 0kay. Now we know by signing that
affidavit, you signed it on October 20th, 2006,
correct?

A: Correct.

Q: That is true, that is in writing,
correct?

A.~ This part is true, but I‘m not certain

Q: l understand. l just want you to go
and I‘m trying to establish my hypothetical so
you understand it. If we assume that on
October 20th, 2006, you knew you were not going
to stay at the Elsberry address, but on October
20th, 2006 you signed an affidavit asserting
and testifying that you were going to remain at
that Elsberry address permanently. would that
make your affidavit incorrect?

MR. HENDRICKSON~. ObjectiOn, improper
hypothetical, assumes facts not in evidence.

You‘re asking him to assume facts that he

hasn‘t testified to, otherwise you can answer

 

 

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might have been the day that he realized -»

MR_ HENDR[CKSON: Might have been.
why don't you ask him again if it was the day.

MR_ RELIHAN: 'l`hat was to the best of
his recollection. that's how he answered the
question.

Q: (By Mr. Relihan) Now l'm asking a
hypothetical,- that if on October 20th, 2006,
you knew you were not going to remain at the
Ellsberry address, that it had become too
difficult, would it, in fact, then be signing
that affidavit on that day make that affidavit
incorrect?

MR. HENDRICKSON: Assuming all of the
facts that you've just stated whether they‘re
true or not?

MR_ RELIHAN: 'l`he question is simple
and if he understands the question, he can
answer it.

MR_ HENDRICKSON: Do you understand
the question?

WI’I.`NESS: 1 really don‘t.

Q'- (By Mr. Relihan) Okay, I‘ll repeat
it. Assume for a fact that on October 20th,

2006 you knew you were not going to remain at

 

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it, if you can.

A; l don't think that l signed this prior
to me moving out. l know it was a Wednesday
morning when l moved out, but l had thoughts
that we might patch things up, and l could go
back up there and that didn't happen.

Q: (By Mr. Relihan\ All right. sir.
That's not answering my questien_ !' ll
establish the hypothetical again and we'll go
through this_

MR_ HENDRICKSON: Can f have a running
objection_
MR. RELIHAN: Sure.

Q: (By Mr. Relihan) Assuming again that

on October 20th, 2006, you knew it was not

going to work out at the Elsberry address,

okay?
A.- Okay.
Q: Assume that, we know on October 20th,

2006, you signed an affidavit stating that the
Elsberry address was going to be your permanent
address, correct?

A: Correct.

Q: If those two facts are true, would it

then make your affidavit incorrect?

 

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l A: I don‘t know how to answer that_ 1
2 Q: It‘s a simple yes or no answer. 2
3 MR. HENDRICKSON; ACCually there'S 3
4 nothing simple about that question considering 4
5 it's an improper hypothetical. 5
6 Q: (By Mr. Relihan) Sir, would -- if 6
7 those two facts are true, that on October 20th, 7
3 2005, we're assuming this fact, that you knew 3
9 you were not going to remain at the Elsberry 9
10 address, and on that same day, October 20th4 10
11 2006, which is in writing, you signed an 11
12 affidavit stating you intended to remain with a 12
13 long-term lease at the Elsberry address{ if 13
14 chose two facts are true, would it then make 14
15 your affidavit incorrect? 15
16 A: lf those two facts are true, yes‘ 15
17 Q: Okay. When you lived at the 817 -- 17
18 strike that question. You testified earlier 18
19 that the 14 Ridgeview court in st. charies, 19
20 Missouri was a temporary address? 20
21 A: Yes. 21
22 Q.~ You did not intend that to be your 22
23 permanent address? 23
24 A: No, 1 didn'c_ 24
25 Q: who were you staying with? 25
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1 Q: 'l‘his again was a temporary address? 1
2 A: Yes, it was. 2

3 Q: Why did you move from the Pontoon 3
4 Beach to your cousin's house in St. Charles, 4

5 Missouri? 5
6 A: How do I answer that? My cousin felt 6

7 like people over in Granite City was trying to 7

8 use me and he wanted to get me away from there_ 3
9 Q: So, on your cousin's advice, you moved 9
10 in with him? 10
ll A: Yes. ll
12 Q: He offered his residence? 12
13 A: `{e$. 13
14 Q: Prior to his offer, you had no 14
15 intention of going to live with your cousin? 15
16 A: NO. 16
17 Q: You intended to stay with your friends 17
18 A].an Shephard and Patty Branch until you found 15
19 something else? 19
20 A: Correct. 20
21 Q: Did you have an agreement that you 21
22 were going to stay a year, a couple months or 22
23 however long you needed? 23
24 A: Just short-term. 24
25 Q: Okay. Was Alan Shephard and Patty 25

 

 

 

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A: My cousin.

Q; OkayA What was your cousin's name?
A: Billy Fennell.

Q: Did he live in St. Charles?

A: Correct.

Q; You were just staying there until you

found something ~

A: Yes.

Q: -- a place to stay?

A: ‘les.

Q; Prior to t‘nat, you lived at 62 Mallard

Drive in Pontoon Beach, lliinois?

A: Yes.

Q: ‘{ou stayed there for approximately two
months?

A_- Six weeks to two months, something
like that.

Q: were you staying with anyone?

A: ‘[es.

Qz who were you staying with?

A: Alan Shepherd and Patty Branch_

Q: Are they relatives of yours?
A No

Q: Are they friends of yours?

A Yes

 

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Branch using you?

A: l don't think so.

Q: if you didn‘t think they were using
you, but your cousins did. why did you go ahead
and move in with your cousin?

A: Because he‘s family.

Q: So the sole, or the decision to move
in with your cousin was based on his offer and
that he‘s family?

A: Correct.

Q: Okay. Were there any other reasons
for moving in with your cousin in St. Charles,
Missouri?

A: NO.

Q‘. Pr`i:>r to that, you lived at 5445
Mary'~rille Road in Granite City, lllinois?

A: Right.

Q: who did you live there with?

A: A friend of mine, Peggy Zigan.

Q: Do you know how to spell her last
name?

A: Z»I»G»A'N.

Q: She's a friend of yours?

A: ‘{es_

Q: How long did you live there?

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A: Probably right around a month, right
around a month,

Q: why did you move?

A: Patty and Alan offered me, 1 was
sleeping on the couch at Peggy‘s and they

offered me a bed.

Q: Better sleeping arrangements, so you
took it?

A: Yes.

Q: were you paying any rent when you were

living at the Maryville Road address?
A; No.
Q: Did you pay any rent to Patty or Alan?
A: No.
Q: Prior to that, you lived at 8321 North
Loop in El Paso, Texas?
A: Ri.gh{‘.. `

: You lived with your father?

A: Yes.

Q: You were there for about a month?

A; Yes, sir.

Q: DO you know what date you moved there?

A: l think we pulled into town May Sthv
Q: Okay. And this was after the death of

your f iance ?

 

 

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Q: Do you remember the landlord?

A: I remember his first name is Dave, 1
don‘t remember what his last name is.

Q: And you found this in the newspaper?

A; Correthv

Q: You paid 557‘5 a month?

A: Yes, sir.
Q: Do you have a copy of that lease
still?

A: No, l don’t.

Q: In your complaint, the date of the
alleged negligence is September 27, 2004. Wh€re
were you living at that time?

A: 3901 Village Lane. Apartment C.

Q: 'l'hat was that five year span at that,
at your fiance's apartment?

A: Correct.

Q: That you and her shared together after
you moved in?

A: YeS.

Q: At that wilshire address, were any
bills in your name?

A: No, they weren't_

Q: were all utilities in her name?

A.~ Yes, they were.

 

 

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A: Correct`

Q: Did you pay any rent?

A: lt wasn't really rent, I helped him
out with expenses.

Q: what expenses did you help him out

with?
A: Food, electric.
Q: why did you move from El Paso to

Granite City, lllinois?

A: Because the memories 1 ran away from I
decided l needed to come back up_

Q: Did you have, when you decided to
leave El Paso, Texas, did you have a place to
stay in Illinois?

A: Yes.

Q: Okay. And that was?

A: Peggy Zigan.

Q: Okay. And prior to the El Paso. Texas
address, you lived at the 3301 wilshire?

A: Correct.

Q: That‘s a duplex --

A: Yes.

Q: -- that you and your fiance signed a

lease for?

 

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Q; The Cingular account you had with your

fiance, was that in her name or your name?

A: Her name_
Q; Although no bills were in your name,
the utilities that ~ or strike that. 'l`he

utilities that were, that you had to pay for at
that apartment. did you contribute to pay for
those utilities?

A: Yes, l did.

Q: The utilities that you did receive,
did they go to that wilshire address, were they
sent to that address?

A: Yes.

Q: Okay.

MR. HENDRICKSON: YOu mean the bills?
MR_ RELIHAN: Yes, the utility bills.
Sorry.

Q: (By Mr. Re1ihanl Did you and your

fiance have a joint checking account?

A: No, we didn‘t.

Q: Did you each have separate checking
accounts?

A: No.

Q: Did she have a checking account?

A: Yes. she did.

 

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1 Q: You had no checking account?
3 2 A: No, 1 didn't.
§ 3 Q: Prior to the injury in this case, were
i 4 you earning any income?
5 A: Yes, 1 lwas.
6 Q: Did you deposit. were you paid by cash
7 or check?
\ 8 A-. Check.
i 9 Q: Okay. when you received a check from
; 10 your employer, who was your employer at that
` 11 time, if you can remember?
12 A: lt‘s Aerospace something, it was a
13 temp employer.
14 Q: where are they located?
15 MR_ HEN'DRICKSON: I‘m going to Object.
i 16 We're getting pretty far afield of citizenship
j 17 and residency.
18 MR. REbIHAN: I’m trying to wrap it
19 up. l understand.
20 MR. HENDRICKSON: A11 right.
21 Q: (By Mr. Relihan) Do you know where
22 they're located?
23 A: In St. Louis.
24 Q: Okay. was there an office in St.
i 25 Louis you went to or was there an office in

 

 

 

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1 Q: Now, according to your affidavitl it
2 states that you attempted to establish
3 permanent domicile on October 4th, 2006. which
4 was more than 30 days prior to this November‘s
5 election, correct?
6 A: Yes.
7 Q: Did you have no desire to vote in this
8 election?
9 A.- That‘s right.
10 Q: 'i`herefore. you never registered to
ll Vote in Missouri?
12 A: Correct.
13 Q; Do you currently have a Bank of
14 America account?
15 A: Yes.
16 Q: All right. I'm going to show you your
17 supplemental response to Request to Produce,
18 and 1 ask you to turn to the back page, is that
19 a copy of the blank check?
20 A: Yes_
21 Q: Okay. And when you applied for this
l 22 account, you gave the St. Charles address?
i 23 A: Yes.
i 24 Q: Okay. Before we go any further, do
25 you have a driver‘s license?

 

 

 

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lllinois?

A: No, the office was in St. Louis.

Q: When you get a check from this
employer, would you then sign it over and your
wife would deposit it in that account?

A: Yes.

Q: Okay. Did you ever want to put your

name on that checking account'?

A' NO.

Q: Are you currently registered to vote?
A: No. I'm not.

Q: You state in your Interrogatories you

last registered to vote in Texas in 1980?

A: Yes.

Q: Are you still registered there?
A: NO.

Q: Have you gone in and unregistered

yourself in Texas?

A: No.

Q: Okay. Have you registered in any
Other state to vote?

A: NO, I‘m not.

Q: Have you attempted to register to vote
in Missouri?

A: No.

 

 

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A: No, I don‘t.

Q: Do you have a state ID?

A; YeS, l do.

Q: May 1 see it? And you can show it to
your counsel first_

A: Okay.

Q: For the record, I‘m looking at an
Illinois ID card No. 53619952171€, issued on
9/9/‘03, expiring 6/16/'09, with an address of
Donald wV Canterbery at 3901 Village Lane,
Apartment C, Granite City, Illinois 62040.
Sir, prior to this past six months of moving to
temporary addresses, how long had you been in
lllinois?

A: Since 2000.

01 Okay.

A: August of 2000.

Qr And you applied for and were issued an
Ill`inois ID card, correct?

A: (Witness nodS)

Q: Correct?

A-. Correct.

Q; Now, it says that that one was issued
On 9/9/‘03, did you have a prior ID card prior

to that?

 

 

 

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A: No, I didn't.

Q: Okay. what did you use when you went
to apply for this ID card, what forms of
information did you give the Secretary of
State?

MR_ HENDRICKSON: I‘m going to ijECC.
again this is irrelevant. We‘re talking about
September '03, it's well before any of the
events of this case and it's certainly before
any relevant dates to the Motion to Ren\and.
You can go ahead and answer.

A: My mother was alive at that time and
she sent me my birth certificate.

Q: (By Mr. Relihan) At that time did you
have any driver's license or ID cards from any

other state?

A: NO.

Q: 15 it fair to say that when you
applied -- that's only a checking account,
correct?

A: Correct.

Q: when you applied for the checking
account, you showed them your Illinois ID?

A: Yes.

Q: Okay, How long have you had this

 

 

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Q; After your fiance died and there was
this six months, almost five months without,
before you opened up this account, where did
you keep your money?

A: In my pocket.

Q; Okay. All clash?

A: Yes.

Q: Okay. You do not belong to any
memberships or clubs?

A; No. 1 don‘t.

Q; Okay. Have you applied to any in
Missouri?

A: Nope.

Q; when you lived at the Elsberry
address, did you apply to any clubs?

A: No.

Q: Are you currently employed?

A: No, I‘m not.

Q; when was the last time you were
employed?

A: June of ‘04.

Q: Was that through Areospace?

A: Correct.

Q.- Have you applied for any jobs in

Missour.i?

 

 

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checking account?

A: Since 9 of '06.

Q: Okay. And since September of '06, you
have not received any bank statements?

A: No, 1 haven‘t.

Q: Have you requested to receive bank
statements?

A: No, l haven't had any money to put in
there yet.

Q: well, even without any money. they
have not sent you "you have a checking account

with a zero balance", you have not made any

transaction?
A: 1 haven't received anything yet.
Q; Have you called to ask them "are you

going to send me any bank statements“?

A: No.

Q: Okay` Do you check your account
online or anything?

A: No, 1 don‘t, not yet.

Q: When did you receive your checks?

A: 9/'06, 1 guess.

Q: Prior to this Bank of America checking
account, did you have any checking accounts?

A: No.

 

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A: No.

Q: Have you applied for any jobs anywhere
else?

A: No, 1 haven‘t_

Q: ls it fair to say then in the past six
months since April of 2006, you haven't applied
for any jobs?

A: 'I`hat's correct.

Q: Are you on any disability, sir?

A: Yes, 1 am_

Q: Okay. ls that how you afford to pay
your rent?

A: Correct.

Q: Okay. Do you receive a check every
month?

A: Yes.

Q: When did you start receiving those
checks?

A: 1 believe in February, this year.

Q: And so in February you would send them
over to your fiance and she would deposit them
in the checking account?

A: Yes.

Q: After her death, you would receive a

check, you would endorse it and then go to a

 

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credit union, bank, some form and get straight v 1
cash from it? 2
A: Actually I have a, I have a cash pay 3
credit card that Social Security direct 4
deposits in there and it‘s like an ATM card, 5
but it‘s, that's all 1‘ve got. 5
Q: So. it‘s fair to state that instead of 7
receiving an actual Check, Social Security puts 8
it directly into this account which is linked 9
to this credit card and you use it as an ATM 10
card? 11
A: COrreCt . 12

Q: when did you receive that card? 13

A: when 1 worked for Aerospace, they set 14

it up so l could get my pay through there 15
Q: So Aerospace set up this account that 16

is now linked to your Social Security 17
disability benefits? 13
A: Correct. 19

Q: Okay. I'm assuming since you've not 20
applied for any jobs, you don‘t have any resume 21
that you‘ve sent out or anything? 22
A: NO. 23

Q: That‘s correct? 24

A: 'l‘hat's :orrect. 25

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When did you buy that truck? 1

A: ’!`he 4th of last month, 2

Q: October 4th? 3

A: YeS. 4

Q: what dealership? 5

A: Cars Unlimited, St. Charles. 6

Q: ls that a dealership? 7

A Yes. 5

o okay 9

A; sed car dealershipv 10

Q: Did they ask for any form of proof 11
being able to drive? 12
A; No. 13

Q: Did you drive that truck off the lot? 14

MR_ HENDRICKSON; objection, 15
irrelevant. Justin. where are you going with 15
this? lt's a completely irrelevant, the issue 17
of, and you know what4 I‘m stopping it, we are 19
not, you can either talk about citizenship and 19
residency. otherwise the deposition is done_ 20
MRv RELIHAN: For the record, in the 21

case law. these are all relevant materials that 22
the » ~ 23
MR_ HENDRICKSON= whether you drove 24

off a lot without a license or not is relevant 25

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Q: ff you don't have a driver's licensel
how do you get from point A to point B?

A; P'riends. bus, taxi.

Q: How did you get here today?

A: A friend of mine.

Q; What friend?

A; Peggy Zigan.

Q: She dropped you off at your attorney's

office?
A; ‘les.
Q; ls she going to »- are you going to

call her and she’s going to take you home
today?

A: YesA

MR. HENDRICKSON: Objectior\,

irrelevant. YOu can answer.

A: YeS, she‘s going to take me back over
to my housev

Q: (By Mr. Relihan) Do you own a car or
lease a car?

A: 1 have a truck.

Q; If you don't have a driver‘s license,
why do you have a truck?

A: Because I‘m working on getting my

driver‘s license straightened out.

 

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to residency and citizenship? Tell me where.

MR. RELIHAN: 1 want to see what proof
he gave when he pulled that truck off the lot.

MR. HENDR[CKSON: He told you he
didn't give any proof. We're done, move on.
Move on or we' ll close it up right now. You've
had your chance. This deposition is limited to
the questions of jurisdiction and diversity
jurisdiction, you are way afield of it and I‘m
shutting it down if you keep asking that
question.

MR. RELIHAN: All right.

Q; (By Mr. Relihan) You had a Texas
driver‘s license prior to the one you‘re
applying for currently?

A: Yes.

Q: Okay. That was last valid in 1998?

A: Yes_

Q-. Did you ever renew that license?

I\: No, l didn‘t.

Q: When did you apply for -- have you
applied for a Missouri driver‘s license?

A; I‘m trying -- no, 1 haven't actually
applied, I‘m trying to get some tickets taken

care of so 1 can apply.

 

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Q: Have you registered the truck in
Missouri?

A: Not yet.

Q: ff you look at the Answer to No. 12 on
the Interrogatories, sir, you just testified
that you have not applied for a Missouri
license, but then that answer No. 12, is that
incorrect?

MR. HENDRICKSON: ‘l`his is the answer.

(Indicating)
A: It‘s incorrect the way I stated it, l
guess‘

Q: (By Mr. Relihan) Okay. So you're
waiting, do you have an outstanding, you‘re
waiting for proof of a payment of a fine in

Oregon before you apply for a Missouri license?

A: Yesi
Q: So --
A: They gave me the information as to

where l needed to go to to take care of that,
and then once l get that letter from Oregon.
they‘ll give me my license.

Q: ‘Iou say "they" gave you the
information, who is "they"?

A: The Missouri driver‘s license place.

 

 

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or strike that. when you bought your truck,
was it cash, did you pay all of it up front?
A: l paid cash.

Q: All of it up front?

A: (witness nods)
Q: Yes?
A: Yes .

Q: Do you have any forms you had to fill

out where you bought it?

A: Yes.

Q: Do you have any of those materials?
A: Not with me.

Q: Okay. Do you have them at home?

A: I believe l do.

Q~. Could you forward those to your

attorney so l could get a copy.

A: Yes, yes.

Q: Thank you_ Do you remember what
address you put on that application?

A: 14 Ridgeview Court.

Q; When was the last vehicle you owned
prior to this truck?

A: '78 International Scout in '91`

Q: ‘lou got rid of it in 1991?

A: YeS.

 

 

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Q: when did you go to the Missouri
driver‘s license place and was told that
information?

A: This past month Sometime.

Q: This past month in November?

A: No, when did I -~ I got the truck
October 4th, it was right around that time is
when I was trying to get my license going_

Q: But it‘s fair to state you do not
remember the exact date you ~-

A: No, I don‘t.

Q: -- went to the driver‘s license
bureau, is that correct?

A: That‘s correct.

Q: You own that truck. sir?

A; ‘les, l dO.

Q: Has it been registered in Missouri?
A: No.
Q: Do you know if you need a Missouri

license in order to register it?

A: ¥es. you do.

Q: Theret'ore, you need to take care of
the license part before you register?

A: Rightl

Q: Okay. Do you have your application --

 

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Q: Okay. Did you pay income taxes for
2005?

A: No, I didn't.

Q: Are you going to be paying any income
taxes for 2006?

A: No.

Q: Okay. When was the last time you paid
income taxes?

A: '03. I believe.

Q'. Did you pay Illinois state taxes as
well?

A: Yes.

Q: Fair to state that the last state
income taxes you paid was in Illinois in 2003?

A: Correct.

Q: And you were living at wilshire at
that time?

A: No, l was at 3901 Village Lane.

Q: Thank you_ Your only family is your
father and sister in El Paso, Texas?

A: Yes.

Q: You also have a cousin?

A: l have various cousins, but not close.

Q: Your only immediate family is in El
Paso, Texas?

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A: Yes.

Q: You don't own any property?

A: NO.

Q: Therefore, you have not paid any real

estate taxes?

A: NO.

Q: Okay. All your personal property is
located at your present address?

A: ‘{es, it is.

Q: And you‘re the only one living at your
present address, correct?

Az Yes.

Q: Okay. ls it fair to state that in
going back to the Elsberry address, you lived

with Leah Fennell. correct?

A: Yes.
Q: Were any of the utilities in your
name?

A: No. they weren‘t.

Q'- Did you pay any utilities?

A: No. l didn't.

Q: Is paying utilities part of the lease
agreement?

A: No, they weren't.

Q: The lease was, the oral lease was only

 

 

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A: YeS.

Q: So no time in October 2006 did you
ever call an Ameren UE to set up your
utilities?

A: No.

Q: Did you fill out any forms for your
utility, to set up utilities?

A: l called them on the phone and they
came out and hooked them up.

Q: Did they give you like a pink slip
showing that they did service and turned it on?

A: l don't know. I don‘t remember tbat_

Q: Fair to state that if they did leave
you anything, you don't have it anymore?

A: I‘ve been unpacking and everything,
throwing stuff away, l have no idea where it
might be.

Q: Okay. l think that‘s about it. Do
you have -- you said in Answer to 22, in your
lnterrogatories, that you paid utilities in
Illinois in April, do you have any copies of
those utility bills?

A: No, I don‘t.

Q: Okay. Just so 1 remember it, the

lease that you had entered into for the

 

 

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for rent, correct?

A: Correct, utilities included.

Q: Have you set up utilities in your
current address?

A: Yes, l have.

Q: what utilities have you set up in your
current address?

A~. Gas and electric.

Q: A.nything else?

A: No.

Qz who's your gas company do you know?

A: l, Ameren IP, or something like that,
they‘ re both Ameren_

Q: Ameren UE, does that sound about
right?

A: 'I‘hat's probably right.

Q; They‘re both gas and electric?

A: Yesl

Q: Okay. Have you received any bills
from them?

A: Not yet.

Q: when did you contact them to set up
your service?

A: l believe it was the week before last.

Q: So in November you set it up?

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Elsberry, that was for a year, correct?

A: Correct.

MR. REL[HAN: That's all l have.
EXAMINATION
QUESTIONS BY MR_ HENDRICKSON:

Q: l’ve got some clarification Don, on
September 13th, 2006, on the date that the suit
was initially filed in state court in lllinoisl
were you living with your cousin Billy Fennell
St. Charles County, Missouri.

A: Yes, l was.

Q: Okay. At that time on September 13th.
2006, had you informed me that you had moved to
Stl Charles County, Missouri?

A: l don‘t believe l did.

Q: Okay. At that time, without
discussing anything that we've ever discussed,
how was it that you and I would communicate,
what was my form of contact with you?

A: My cell phone.

Q: Has that always been my form of
contact with you?

A: Yes, it has.

Q: And that hasn't changed throughout

that period of time?

 

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A: No, it hasn't.
Q; Okay. Including the time when you

were in Texas, same cell phone, is that

correct?
A: ‘{es_
Q; From the time you moved in Illinois

following your fiance's death in April of this
year, did you establish a permanent residency
in any state other than Missouri?
A; NO.
Q.» Did you establish citizenship in any
state other than Missouri?
MR. RELIHAN: I‘m going to object to
the form of the question as it calls for a
legal conclusion, outside the purview of this
witness‘ ability to answer.
Q: (By Mr. Hendrickson) You can go ahead
and answer.
A; Would you repeat it?
Q; Did you establish citizenship in any
state other than Missouri?
MR. RELIHAN: Same objection.
A: NO_
Q: (By Mr_ Hendrickson) On October l3th,

2006, the date that Dr. Petrovich's attorneys

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Q: Now. given that that was a Friday on
that date, the date that you signed this, had
you been removed from 817 Randolph in Elsberry,
Missouri?

A: [ don‘t believe I had.

Q_~ Okay. who broke the lease for 817
Randolph. Ellsberry, Missouri, you or Ms.
Fennell?

A: She did.

Q: Okay. Did she ask you to leave?

A; She ordered me to leave_

Q; She ordered you to leave, all right.
And do you remember what day of the week that
occurred on?

A: A wednesday morning.

Q; Okay. And if the following Wednesday
would be October 25th, 2006, would that be the
most likely date that she asked you to leave?

A: Yes, [ believe that would be pretty
close.

Q; Did only a couple of days pass between
the time she asked you to leave and the time
you found your current residence at 3152
Boonslick Road?

A: Yes .

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filed a notice of removal from State to Federal
Court, were you a resident of Missouri at that
time?

A: ‘le$.

Q: All right_ At that time, were you
residing at 817 Randolph in Elsberry, Missouri?

A: Yes, I was.

Q: lt was your intent on October 13th,
2006 that that would be your permanent
residency for the foreseeable future at 817
Randolph in Elsberry, Missouri?

A: Y€Si

Q; Okay. There was some confusion as to
dates, l think, in the questioning_ ‘lou signed
an affidavit on October 20th, 2006 that we
attached to our Motion to Remand, is that
correct?

A; Yes.

: And you signed it on October 20th,
2006?

A: Yes_

Q: If we look at a calendar, October
20th, 2006 was a Friday. that was the date that
you -- so you signed this on a Friday, correct?

A: Right.

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Q; All right. And since you moved in
there or made that arrangement on October 27th,
2006, would the date that you removed, you were
removed from 817 Randolph be the most recent
wednesday before that date?

A: Yes.

Q: And if October 27th, 2006 is on a
Friday. that would make that date that you were
asked to leave 817 Randolph October 25th, 2006,
is that right?

A: Yes.

Q: At the time that you made the
arrangements with Leah Fennell at 617 Randolph,

you paid rent and a security deposit. is that

correct?
A: Correct.
Q: And she has since refunded at least

part of the security deposit due to her
breaking the lease, right?
A: Correct.
Q: So, on October 13th, 2006, was it, is
it clear to you that on that date, you were a
resident of Missouri?
MR_ RELIHAN: Objection to form.

A: Yes.

 

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Q: (By Mr. Hendrickson) were you a
resident of Missouri on October l]th, 2006?

A: Yes, I was.

MR_ REL[H.AN: Ob]'ect to form,
foundation_

Q: (By Mr. Hendrickson) were you a
resident of Illinois on September 13th, 2006?

A: No, 1 wasn't.

Q: were you a resident of Illinois on
October 13th, 200€?

A: No, l wasn't.

Q: Okay. was the last time you had a »-
when was the last time you had a permanent
residence in Illinois?

MR. RELIHAN; Objection, asked and
answered.

A: Prior to May of '06, that was my last
real residence

Q: (By Mr. Hendrickson) Okay. were you
ever aware what state Dr. Petrovich was a
resident of prior to the filing of Defendant's
Motion?

MR. RELIHAN: Object to relevance.
Q~. (By Mr. Hendrickson) ‘[ou can answer.

A: NO, l didn't.

 

 

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filed today, we filed today, that included the
production of a copy of your check showing your
bank account at Bank of America in St. Charles,
Missouri, correct?

A: Correct.

z And to open this bank account, you

went to the bank branch located in St. Charles?

A: Yes, sir.

Q: Do you remember what street that is

A; No, l don‘t.

Q: Okayi You gave them a phone number of
636-947-8974, whose phone number is that?

A: That was Bill Fennell's home phone.

Q: Okay. And did you do that with his

permission?
A: YeS.
Q: And you gave the address where you

were living at that time4 14 Ridgeview Court,
correct?

A: Correct.

Q: Okay. And that was established
sometime in September Of 2006?

A: Yes.

Q: Okay. Do you have any bank accounts

 

 

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Q: Okayi On October 3rd, 2006 when you
moved into 817 Randolph, Elsberry, Missouri,
were you doing that in order to defeat
jurisdiction ~e diversity jurisdiction in the
present litigation?

MR. RELIHAN: object to the ~~

A: NO.

MR. RELIHAN: Object to the form,
foundation, improper questioning, calls for a
legal conclusion that this witness clearly
didn't know what diversity jurisdiction is or
was prior to the filing of this case, but his
answer is --

MR. HENDRICKSON: l'll accept that as
true.

Q: (By Mr. Hendrickson) Go ahead. were
you( were you trying to defeat the ~-

A: No, I wasn't.

MR_ RELIHAN: Same objection.

MR_ HEN'DRICKSON: Same ObjeCtiOn, l
understand

MR. RELIHAN: Yes, yes.

Q: (By Mr. Hend.rickson) I ‘m going to
reference you to Deposition Exhibit No. 5,

which is our supplemental responses that you

 

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in your name established with addresses for any
other address other than the one in Missouri?
A: NO.
Q: And after your fiance‘s death, when
you went to Texas to visit your father, did you
have any intent to permanently remain there?

A: ¥es, l did.

Q: It was your intent at that time?
A: Yes.
Q: Okay. when you moved from there in

June of 2006, did you have any intent to return
back to Texas?

A: No.

Q: Been there, done that?

A: Yep.

Q: Okay. And is it fair to say that from
the period of time when you left your father's
residence in Texas until you entered into the
rental agreement with Leah Fennell, you didn't
have( you didn‘t rent any property during that
period of time?

A: No, I didn‘t_

Didn‘t pay any utilities'?
NO.

Q: Didn’t have an ermanent residency of
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any kind?
A: No, l didn‘t.
MR. HENDRICKSON: l don‘t have any
other questions.
EXAMINATION
QUESTIONS B‘{ MR. RELIHAN:

Q: Just a quick follow up,

Mr. Canterbery. when you went to the driver‘s
license bureau seeking to get a Missouri
driver‘s license and they said you needed to
take care of the tickets in 0regon, that issue,
did you apply for a Missouri ID card?

A: No, I didn't.

Q: Prior to the lease being broken at
Elsberry. from your testimony earlier, is it
fair to say that prior to that date. you were
aware that it wasn‘t going to work out with Ms.
Fennell?

A: Repeat the question, please.

Q: Okay. Earlier in this deposition, we
talked about that prior to you leaving Elsberry
you knew it wasn't going to work out, it wasn‘t

right away, you thought it could work out and

then it got to the point where you knew it

t wasn't going to work out, do you remember

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CI'["{ OF ST. LOUIS

[, Margaret M. Clodius, a Notary
Publ ic in and for the State of Missouri, duly
commissioned, qualified and authorized to
administer oaths and to certify to depositions,
do hereby certify that pursuant to Notice in
the civil cause now pending and undetermined in
the United States District Court, Souterhn
District of Illinois, to be used in the trial
of said cause in said court, I was attended at
Husch S< Eppenberger, 190 Carondelet Plaza, St.
L.ouis, Missouri, by the aforesaid witness; and
by the aforesaid attorneys; on NOVEZMBER 14,
2006 .

That the said witness, being of sound
mind and being by me first carefully examined
and duly cautioned and sworn to testify the
truth, the whole truth, and nothing but the
truth in the case aforesaid, thereupon
testified as is shown in the foregoing

transcript, said testimony being by me reported

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testifying to that?

A: ¥es.

Q: ‘Iour counsel asked you questions where
you answered that Ms. Fennell broke the lease,
correct?

A: ‘{es_

Q: And through computation, that date we
assume based on your testimony is at or around
0ctober 25th, 2006?

A: ‘{es.

Q: A wednesday, correct?

A: ‘les_

Q: what l want to know is; when did you
know, before the lease was broken, how many
days before that were you aware that it wasn't

going to work out?

A: That morning.
Q; No time sooner?
A: No.

Q: Okay.

MR. RELIHAN: That'S it.
MR_ HENDRICKSON:' No other questions.

we' 1 1 read.

 

 

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in stenotype and caused to be transcribed into
typewriting¢ and that the foregoing pages
correctly set forth the testimony of the
aforementioned witness, together with the
questions propounded by counsel and remarks and
objections of counsel thereto, and is in all
respects a full, true, correct and complete
transcript of the questions propounded to and
the answers given by said witness; that the
signature of the deponent was not waived by
agreement of counsel.

l further certify that I am not of
counsel or attorney for either of the parties
to said Suit, not related to nor interested in
any of the parties or their attorneys.

Witness my hand and notarial seal at

 

St. Louis, Missouri, this 14th day o dvember,

2006v

2010.

?Heg#WLDL-BJWQW;-

Notary Public in and for the

State of Missouri

 

 

 

 

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1 73
1 core Perry caraway sc mpa Reporting `; 1 comm MsMo
2 2 UNITED STATES DISTRICT COURT
3 3 FOR THE SOUTHERN DISTRICT OF ILLINDIS
4 Attn: Mr. Todd Hendrickson 4
5 L.aw Office of Todd Hendrickson 5 Donald Canterbery vs. John Petrovich. M.D.
1 6 100 SOuth Brentwood 6 3:06~cv»792-MJR-PMF
7 Clayton. Missouri 63105 7
3 8 CERTIE`ICATE OF OFFICER AND
9 Enclosed please find the Original Signature pages 9 STATEMENT OF DEPOSIT[ON CHARGES
1 10 and errata sheets for the deposition of: 10
ll Donald Canterbery taken 11/14/2006 in the case of; 11 DEPOSITION OF DONALD CANTERBERY
12 Dona1d Canterbery vs. John Petrovich, M.D. 12 TAKEN ON BEHALF OF THE DEFENDANT
13 Please read your copy of the transcript, noting ;, 13 11/14/2006
14 any corrections on the enclosed erratta sheets, 14 Name and address of person or firm having custody of
15 and return all pages for filing in court to: 15 the original transcript:
1 16 Attn: Mr. Justin Relihan 16 Justin Relihan
17 Husch Eppenberger 17 Husch & Eppenberger
j 18 190 Carondelet Plaza 18 190 Carondelet Plaza, Suite 600
19 St. Louis, Missouri 63105 19 St. Louis, MO 63105
20 20
21 Your prompt cooperation will be appreciated. 21
l 22 Sincerely, 22
§ 23 23
24 Gore Perry Gateway & Lipa Reporting 24
25 25
` Gore Perry Gateway Lipa Balcer Dunn & Butz Gore Perry Galeway Lipa Baker Dunn & Butz
, St. Lauis 314.241.6750 St. Charles 636.940.0926 St, Lauis 314.241.6750 St. Charles 636.940.0926
1 ,....., i._e.,
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l ORIGINAL TRANSCRIPT TAXBD IN FAVOR OE`:
2 Justir) Relihan
3 Husch & Eppenberger
4 190 Carondelet Plaza, Suite 600
5 St, Lo\liS, MO 63105
6 Total:
7 l ONE COPY - TAXED IN E`AVOR OF:
B Todd Hendrickson
9 Hendrickson. Law Offices of Todd N.
10 7700 BOnhomme, Suite 210
l 11 C1ayt0n. MO 63105
12 Tota1:
13
14 Upon delivery of transcripts, the above
15 charges had not been paid, lt is anticipated
16 that all charges will be paid in the normal course
17 of business.
18 GORE PBRRY GATEWAY & LIPA REPORTING COMPANY
19 515 Olive Street, Suite 700
20 St. Louis, Missouri 63101

21 IN wlTNESS WHEREOE`, I have hereunto set

22 my hand and seal on this day of l§
, ’LW£/)L -3629(¢'¢#) "'
23 Commissi expires

 

 

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24

25 Notary Public

 

 

 

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1 Page |"` Line ZOShould Read: Lf€ ¢ ‘¢\' L¢a¢l¢\
2 Reason for change: NM -l»*‘\“\\‘{~`¢ -

, 4 Pageav Line 1 Should Read: /FLI\+`S cit M*£° _
5 Reason for change: DW‘\ kan CNW M‘+` M"o>l
6 W Subitbuc~“' ~\*t»¢+ii¥\»-( ,

7 Page 21 Line Ashould Read; :\_,»\» hal .l~. lam iam M~\J
8 Reason for Change: gsw '

9 M~`s‘\'z.h¢.av,+» M, m S“W$M ~‘-e,i~¢mmti fg‘{(¢.. H
10 Pageg`( Line § Should Read: “°, b‘“»€,`¢-\w‘ Q(j Rm‘£,lpk

ll Reason for change:

12 n SMMW~J’ ¢°“`@~h“'\¢ P eqit'"
ii.,.,.,,,1,1.1.;,1;.:,»§13 Page Line Should Read:

14 Reason for change:

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16 Page Line Should Read:

17 Reason for Change:

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19 Page Line Should.Read:

20 Reason for change:

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22 Page Line Should Read:

23 Reason for change:

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l Comes now the witness, Donald Canterbery,

2 and having read the the foregoing transcript
3 of the deposition taken on the 11/14/2006,

4 acknowledges by signature hereto that it is a
5 true and accurate transcript of the testimony given
6 on the date hereinabove mentioned.

7

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9 g<///

10 Donald Canterbery

11

12 Subscrihed and sworn to me before this

k luis l§H-/ day of w 2006.
14 My Commission expires
15
Todd N. Henddckson - Notary Pub|l@
16 w!§§$?. §€“£z>§§%€.§my
Commission #05551975

17 MyCon‘unission Expires 415!2069_““_?_

18 Notary Public
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